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11
12                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
13                             WESTERN DIVISION
14
      MACOM TECHNOLOGY                          Case No. CV 16-02859 CAS (PLAx)
15    SOLUTIONS HOLDINGS, INC., a
      Delaware corporation, and                 MACOM’S (SECOND) REPLY
16    NITRONEX, LLC, a Delaware limited         MEMORANDUM IN SUPPORT OF
      liability company,                        MOTION FOR LEAVE TO AMEND
17                                              COMPLAINT
18                      Plaintiffs,
                                                REDACTED VERSION OF
19          v.                                  DOCUMENT PROPOSED TO BE
      INFINEON TECHNOLOGIES AG, a               FILED UNDER SEAL
20
      corporation organized under the laws of   Hearing Date: June 25, 2018
21    Germany, and INFINEON
      TECHNOLOGIES AMERICAS                     Hearing Time: 10:00 a.m.
22    CORP., a Delaware corporation,            Courtroom: 8D
23                      Defendants.
                                                Complaint Filed: April 26, 2016
24
                                                Fact Discovery Cutoff: June 29, 2018
25                                              Pre-Trial Conference: March 4, 2019
26                                              Trial Date: March 26, 2019
27
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 1                                   I.    INTRODUCTION
 2            Plaintiffs (collectively “MACOM”), pursuant to the Court’s June 6, 2018
 3   Order (Dkt. 532), submit this reply memorandum in support of their motion for
 4   leave to file a Fourth Amended Complaint.
 5            MACOM has moved to amend the Complaint based on new developments,
 6   including the recently-produced                                       , Infineon’s sale
 7   of its GaN-on-SiC and LDMOS RF Power business to Cree, and Infineon
 8   Americas’ most recent refusal to enforce the patents against Infineon AG. The
 9   amendments add allegations based on these new developments and one new cause
10   of action ̶ unfair competition ̶ based on such developments.
11            In opposition, Infineon asserts that the amendment will unduly delay the
12   case, that MACOM was not diligent in seeking to amend, and that other reasons
13   warrant denial of the motion. As discussed below, Infineon’s arguments have no
14   merit.
15              II.    THE MOTION TO AMEND SHOULD BE GRANTED
16   A.       The Amendment Will Not Unduly Delay the Case
17            The amendment will not, or at least should not, delay this case. Infineon
18   argues, for example, that the new claims “will necessitate new discovery requests
19   (and inevitably new motions to compel).” Opp. at 1. The facts relating to the new
20   allegations, however, are fully within Infineon’s possession (and always have
21   been). Indeed, the only specific discovery that Infineon identifies that it will need
22   is “the factual and legal bases for Plaintiffs’ new claims.” Opp. at 19. But, again,
23   the factual basis for the contentions has long been in Infineon’s possession and the
24   legal basis is set forth in the amended complaint. Further MACOM is committed to
25   working with Infineon to resolve discovery issues without the need for any motions
26   to compel, particularly to the extent the discovery concerns MACOM documents or
27   information.
28            Similarly, Infineon argues that no depositions can begin until after a future

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 1   motion to dismiss is resolved, because it “cannot properly prepare and present [its]
 2   witnesses for deposition without knowing what claims are in the case.” Opp. at 18.
 3   But Infineon does not explain why, or how, the amendment materially affects the
 4   scope of discovery. The only new cause of action, for example, is the unfair
 5   competition claim. That claim, however, is closely related to the existing tortious
 6   interference claim. Those claims are based on Infineon’s activities and do not
 7   necessitate discovery from MACOM. Further, Infineon has not identified what
 8   information or documents, or other discovery, would arise from the unfair
 9   competition claim that would not be relevant to the other claims in the case. The
10   fact is that there is no “new” discovery that will be needed based on the unfair
11   competition claim, and there is certainly no justification for delaying depositions
12   until Infineon’s promised motion to dismiss is resolved. Similarly, the facts
13   relating to the newly-disclosed                   (and the Cree transaction, for that
14   matter) are entirely within Infineon’s control. And, regardless of whether the
15   Complaint is amended to add specific allegations about these developments, they
16   are already relevant to the existing claims and thus already properly the subject of
17   discovery. This is the very reason that Infineon produced
18   B.    MACOM Has Been Diligent
19         Infineon also argues that MACOM was not diligent because it has known
20   about the                  and the shifting of its GaN-on-Si activities to overseas
21   Infineon affiliates “for months.” Id. at 2. They have not shown, however, that any
22   delay was unreasonable. The              license was not produced until March 27,
23   2018, for example, as part of a production of more than 100,000 pages of
24   documents. Infineon also argues that the Bates number for the
25   was listed in a supplemental interrogatory response dated March 26, 2018. Opp. at
26   10. Infineon seems to suggest that MACOM should have known of the content of
27   the document based on the Bates number or should have immediately located the
28   document within the 100,000 pages that were produced concurrently (and

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 1   approximately the same time as an additional 160,000 pages were produced beyond
 2   those 100,000). It also fails to account for the fact that Infineon did not actually
 3   provide its production to MACOM immediately on March 27th, but rather shipped
 4   a hard drive to MACOM on that date, which of course took time to be delivered and
 5   uploaded. Moreover, the few weeks that MACOM took to digest the supplemental
 6   discovery responses and document production were reasonable, particularly when
 7   one considers that MACOM had made document requests for licenses
 8                     in August of 2017—over six months prior to when Infineon
 9   produced it in March of 2018. Infineon took far longer to produce the documents
10   than MACOM did to analyze them. Furthermore, MACOM contacted Infineon as
11   early as May 10th to raise questions as to whether the                    could be
12   shared with MACOM personnel.
13         Infineon also argues that the allegations relating to Infineon’s transfer of the
14   GaN-on-Si business to other affiliates are untimely. Those allegations, however,
15   are closely connected to Infineon Americas’ refusal to enforce the Nitronex patents
16   against those affiliates, as well as the Cree transaction. Infineon Americas
17   confirmed its refusal to enforce the Nitronex Patents against Infineon AG by letter
18   on April 11, 2018. See Ex. J at 1. The Cree transaction was announced on March
19   6, 2018, and it was only after that point that MACOM understood that Infineon had
20   fully transitioned its GaN-on-Si business to affiliates and was divesting the
21   employees who had been involved with that work. Although Infineon argues that
22   MACOM knew that Infineon was attempting to sell the assets before then (Opp. at
23   6), MACOM did not know of the price or details of the actual sale (including that
24   the GaN-on-Si design and sales personnel would no longer be Infineon Americas
25   employees) ̶ which is what is relevant to the amended claims ̶ until after seeing the
26   press relating to the transaction. Again, there was no unreasonable delay.
27   C.    Infineon’s Other Arguments Are Not Pertinent
28         Infineon’s opposition spends substantial time on arguments that appear to

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 1   have no bearing on the motion to amend. Infineon complains, for example, that
 2   MACOM is attempting to obtain relief against Infineon AG. Opp. at 2-4. This is
 3   true, but the relief sought against Infineon AG is not affected by the amendment ̶
 4   the same relief is already sought in the existing complaint through another claim.
 5            Infineon also complains that MACOM has not provided sufficient
 6   information concerning its damages contentions. Opp. at 12-14. At the same time,
 7   they admit that they have refused to allow any depositions to proceed, and do not
 8   deny that they have produced over 250,000 pages of documents since the end of
 9   March. Regardless, the sufficiency of MACOM’s response to an interrogatory
10   concerning damages (a response that already spans multiple pages and contains
11   significant detail, and a response that MACOM has nonetheless agreed to
12   supplement further) is immaterial to whether leave to amend should be granted.
13            Infineon also complains about MACOM’s deposition notices. Opp. at 15-16.
14   To the extent the status of depositions is relevant, however, it supports MACOM’s
15   position, because no depositions have yet been taken since general discovery
16   opened. Accordingly, the amendment will not require any depositions to be re-
17   taken.
18            Finally, Infineon attacks the merits of MACOM’s unfair competition claim
19   and claims relating to the                 . Opp. at 16-17. MACOM disagrees
20   with Infineon’s position (and particularly the suggestion that MACOM has not
21   adequately pleaded unfair competition under the “unlawful” prong of that doctrine)
22   but, more importantly, the merits need not be addressed at this stage, particularly
23   where there is nothing to suggest the claims would be futile.
24                                  III.   CONCLUSION
25            Because there is good cause for MACOM’s proposed amendment, and
26   because Infineon has not shown it will suffer any legitimate prejudice from the
27   amendment, MACOM respectfully requests that the Court grant its motion for leave
28   to amend the complaint.

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 1
 2         Respectfully submitted this 11th day of June, 2018.
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